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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION


VIAAS INC.,

              Plaintiff,                       Civil Action No. 6:22-CV-01047-KC

     v.

CISCO SYSTEMS, INC.,                           JURY TRIAL DEMANDED

              Defendant.


                DEFENDANT CISCO’S REPLY IN SUPPORT OF ITS
              MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(C)




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I.     ARGUMENT

       VIAAS acknowledged in its Response that it has the burden to “plausibly allege that the

accused products meet ‘each and every element of at least one claim’ of the asserted patent.” Dkt.

24, Resp. at 5 (citation omitted). While acknowledging the standard, VIAAS fails to meet it. For

the ’888 patent, VIAAS declines to face the fact that its allegations directly contradict the very

evidence it cites. And for the ’069 patent, VIAAS refuses to accept that it has simply failed to

address a limitation of its asserted claim. While VIAAS seeks to replead, it would need to seek

leave to do so, and it fails to even suggest a viable basis for amending that could cure the defects

in its complaint. The appropriate remedy in this instance is to dismiss this case.

       A.      VIAAS Still Fails to Show Its Plausible Basis for Relief as to the “Storing If
               Immediate Transmission Fails” Claim Limitation.

       VIAAS’s first point in its Response fails for the same reason its Complaint fails – it does

not point to any plausible argument under which Cisco’s products meet this “storing if

transmission fails” limitation. As noted in Cisco’s Motion, there is no event that must occur for

the Meraki cameras to store data. Dkt. 11, Mot. at 9. Quite the opposite. They store data whether

or not any transmission fails. Id.

       VIAAS’s Response selectively cites Cisco documentation in an attempt to demonstrate that

it can plausibly allege that Cisco Meraki MV Cameras satisfy the “storing if immediate

transmission fails” limitation. In particular, VIAAS states that “even if the network connection

cuts out, the cameras will continue to record footage.” Resp. at 7. But a proper review of the

documentation, as shown below, only proves that Cisco’s cameras cannot meet the limitation, and

that VIAAS’s conclusory allegation is simply incorrect.




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    Claim Limitation of the ’888 Patent               Documentation Cited by VIAAS, Resp. at 7

    Transmitting immediately when directed and Plus, as video is stored locally, administrators
    storing if immediate transmission fails.   can rest easy knowing that even if the network
                                               connection cuts out, the cameras will continue
                                               to record footage.


          This excerpt from Cisco’s documentation directly contradicts any argument that recording

occurs upon a condition, i.e., “if immediate transmission fails.” The asserted claim of the ’888

patent does not contemplate storing regardless of whether “immediate transmission fails,” and

requires a decision – for recording to begin “if immediate transmission fails.” But the very

documentation VIAAS cites indicates that the Meraki cameras always store data. When the

evidence VIAAS puts forth to plausibly allege a claim limitation seems to directly contradict that

claim limitation, that is not a claim construction issue.

          By putting forth facts that “are actually inconsistent with and contradict infringement,”

VIAAS has “pleaded itself out of court.” Bot 8 LLC v. Sony Corp. of Am., 4 F.4th 1342, 1354 (Fed.

Cir. 2021); Bowmar Archery LLC v. VIP Veteran Innovative Prods. LLC, No. 1:22-CV-00346-RP,

2023 WL 28438, at *2 (W.D. Tex. Jan. 3, 2023) (applying Bot 8 standard to Fifth Circuit law).

Notably, VIAAS does not dispute that the accused Meraki cameras continually record, regardless

of whether any transmission fails. AK Meeting IP LLC v. Cisco Sys., Inc., No. 6:22-cv-00248-

ADA, 2022 WL 17979765, at *5 (W.D. Tex. Dec. 28, 2022).1 Accordingly, VIAAS’s allegations

cannot survive the pleading standard, because they are based on “accusations that are completely

devoid of factual support.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.




1
 It is worth noting that AK Meeting is also represented by Ramey LLP (“Ramey”). In the AK
Meeting matter, like here, Ramey simply declined to accept that its allegation was clearly
contradicted by evidence to the contrary. The Court dismissed the allegation as a result.
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Twombly, 500 U.S. 544, 547 (2007)).

       B.      VIAAS Still Fails to Show Its Plausible Basis for Relief as to the “Generating
               Multiple Representations of the Event of Interest . . . Wherein the Multiple
               Representations Include Both Video and Still Images of the Event Derived from
               the Video” Claim Limitation.

       VIAAS still cannot point to factual allegations in its Complaint to support an allegation

that this claim limitation of the ’069 patent, claim 1, is satisfied by the Cisco Meraki MV Cameras.

In its Response, VIAAS compares the limitation of the ’069 patent with Cisco documentation that

reads: “Meraki cameras continuously record and upload the video feed to the cloud. An alert is

sent out when an event occurs. The video of the event of interest is stored as a continuous feed on

the cloud storage service.” Resp. at 8. But even if this citation identifies a video, and a still image

(presumably associated with the alert), VIAAS’s offered citation is completely silent on the issue

of whether “both [the] video and still images of the event [are] derived from the video.” In fact,

VIAAS’s claim chart does not even provide narrative that sets forth a conclusory allegation for

this portion of the limitation. Dkt 1.1, Ex. D at 5. At most, what VIAAS alleges is that it is possible

that the “video and still images of the event [are] derived from the video.” But an allegation that

merely raises a possibility that a limitation is satisfied, rather than a plausible allegation, is not

sufficient under the jurisprudence in this District. See Vervain, LLC v. Micron Tech., No. 6:21-cv-

00487-ADA, 2022 WL 23469, at *2 (W.D. Tex. Jan. 3, 2022) (noting that a possible allegation

falls short of a plausible allegation needed to survive a motion to dismiss).

       C.      VIAAS Has Not Set Forth Any Facts or Law Supporting Leave to Amend Its
               Complaint.

        VIAAS filed its Complaint on October 16, 2022, and therefore amendment without leave

was due by November 6, 2022. Pursuant to Fed. R. Civ. P. 15(a)(2), VIAAS may not amend its

pleadings without (i) Cisco’s written consent or (ii) leave of Court. As the Fifth Circuit has

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explained, “leave to amend is in no way automatic.” Marucci Sports, LLC v. Nat’l Collegiate

Athletic Ass’n, 751 F.3d 368, 378 (5th Cir. 2014). Since the time to amend as a matter of right has

expired, Fed. R. Civ. P. 16(b) governs whether leave should be granted. VIAAS does not address

the good cause standard under Rule 16(b) in its response brief, but instead, simply asks to be

granted leave. Resp. at 9. In addition, VIAAS has not provided any explanation of what it proposes

to amend, and neither Cisco nor the Court has a basis to determine whether that amendment would

be futile. Having failed to address the appropriate legal standard, explain why leave should be

granted, or explain why any amendment would not be futile, VIAAS’s pro forma request for leave

to amend its Complaint should be denied.

II.    CONCLUSION

       For the reasons stated above, Cisco respectfully requests that the Court dismiss VIAAS’s

claims of infringement with respect to the ’888 and ’069 patents.




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DATED: February 7, 2023                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on February 7, 2023, a copy of the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which sends notifications of such filing to all counsel

of record who have consented to accept service by electronic means.



                                                       /s/ Mark N. Osborn
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